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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY

 JOHNSON & JOHNSON                        :
 HEALTH CARE SYSTEMS INC.,                    Civil Action No. 22-2632 (JKS)(CLW)
                                          :
                    Plaintiff,                Hon. Jamel K. Semper, U.S.D.J.
                                          :   Hon. Cathy L. Waldor, U.S.M.J.
  vs.                                         Hon. Freda L. Wolfson, Special Master
                                          :
 SAVE ON SP, LLC,                             DECLARATION OF
                                          :   JEFFREY J. GREENBAUM
                    Defendant.                IN SUPPORT OF
                                          :   MOTION TO SEAL

 JEFFREY J. GREENBAUM, hereby declares as follows:

        1.   I am a member of Sills Cummis & Gross P.C., attorneys for plaintiff

 Johnson & Johnson Health Care Systems Inc. (“JJHCS”). In accordance with Local

 Civil Rule 5.3(c)(3), I submit this Declaration in support of the motion of JJHCS to
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 seal letters written by counsel for the parties to Judge Wolfson and the exhibits

 regarding the Motion by Defendant Save On SP, LLC (“SaveOnSP”) to Compel

 Discovery from “Janssen Market Research,” dated May 21, 2024, with related

 briefing on May 31 and June 7, 2024 (the “Motion to Compel,” ECF Nos. 330,

 331, and 357, filed July 3, 2024 and August 27, 2024).

       2.     I make this Declaration based upon my personal knowledge and

 review of the letters and exhibits. JJHCS seeks to seal portions of ECF Nos. 330,

 331, and 357, through the instant motion, in accordance with Local Civil Rule

 5.3(c).

       3.     Attached hereto as Exhibit A is the proposed public version of the

 Motion to Compel. As shown on this exhibit, JJHCS is proposing the redaction of

 limited information relating to confidential information from the letters and the

 exhibits thereto.

       4.     Local Civil Rule 5.3(c)(1) requires “[a]ny request by a party . . . to file

 materials under seal, or otherwise restrict public access to, any materials . . . shall

 ordinarily be made on notice, by a single consolidated motion on behalf of all

 parties . . . .” The single consolidated motion shall include: “(a) the nature of the

 materials . . . at issue; (b) the legitimate private or public interest which warrant the

 relief sought; (c) the clearly defined and serious injury that would result if the

 relief sought is not granted; (d) why a less restrictive alternative to the relief sought



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 is not available; (e) any prior order sealing the same materials in the pending

 action; and (f) the identity of any party or nonparty known to be objecting to the

 sealing request.” L. Civ. R. 5.3(c)(3).

       5.     In support of this motion, JJHCS has prepared an index setting forth

 the information that it seeks to seal and the basis for the request which is attached

 hereto as Exhibit B.

       6.     Defendant SaveOnSP has no objections to the sealing of any of the

 confidential materials subject to this motion.

       7.     The Complaint alleges that SaveOnSP has pilfered tens of millions of

 dollars from the financial support program offered by JJHCS to its patients, the

 Janssen CarePath Program (“CarePath”). (ECF No. 1.) The Complaint asserts two

 causes of action: (1) tortious interference with contract; and (2) deceptive trade

 practices in violation of N.Y. Gen. Bus. Law § 349.

       8.     The parties entered into a Discovery Confidentiality Order, which was

 so ordered by the Court on November 22, 2022 (ECF No. 62).

       9.     During the course of discovery, JJHCS produced various confidential

 documents pertaining to the administration of the CarePath program and the JJHCS

 business. Certain of these documents are attached as exhibits to ECF Nos. 330,

 331 and 357 and include confidential emails, an agreement, notes, and

 presentations.



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       10.    JJHCS designated its production of its confidential documents as

 Confidential or Attorneys’ Eyes Only pursuant to the Discovery Confidentiality

 Order, as they contain highly sensitive business information. (ECF No. 62).

       11.    In addition, JJHCS produced confidential benefits investigations,

 which were designated as Confidential Health Information pursuant to the

 Discovery Confidentiality Order. Those benefits investigations are attached as

 Exhibits 39 and 40 to ECF No. 357.

       12.    As detailed in Exhibit A, JJHCS proposes very limited redactions to

 the letters and exhibits that are the subject of this motion to seal. The proposed

 redactions directly pertain to the discussion of the confidential exhibits identified

 above that the parties have treated as confidential during this litigation.

       13.    JJHCS asserts that it has a strong and legitimate interest in protecting

 the propriety of its confidential business information from being disclosed to the

 public. For that reason, its interest in maintaining the confidentiality of these

 documents is paramount.

       14.    The parties have continued to safeguard and protect the confidentiality

 of the Confidential Materials during the course of this action. See ECF No. 62.

       15.    JJHCS asserts that disclosure of this confidential and proprietary

 information to the public would cause it irreparable harm because it would place

 JJHCS at a competitive disadvantage if its competitors secured the information.



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 Disclosure of the benefits investigations would also improperly reveal confidential

 health information of patients. In short, disclosure of this confidential information

 serves no useful purpose.

       16.    Sealing these documents is the least restrictive alternative means of

 protecting JJHCS’s highly confidential information, as there is no alternative

 means to protect against the disclosure of this confidential information.

       I declare under penalty of perjury that the foregoing is true and correct.



 Executed on August 27, 2024.

                                               s/ Jeffrey J. Greenbaum
                                               JEFFREY J. GREENBAUM




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